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     FIL ED
       8/2023
 AO 91 (Rev. 11/11) Criminal Complaint
        3/2                              UNITED STATES DISTRICT COURT
                                                                               AUSA Sushma Raju (312) 353-5329


    THOMA.SDG    . BRUTON RT             NORTHERN DISTRICT OF ILLINOIS
    R K , U .S ISTRICT COU
CLE                                           EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                        CASE NUMBER:
                         v.                             23 CR 175
 JAWAD H. HAKEEM

                                             CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about March 9, 2023, at Chicago, in the Northern District of Illinois, Eastern Division, the
defendant(s) violated:
      Code Section                                    Offense Description
      Title 18, United States Code, Section           by force, violence, and intimidation, took from the
      2113(a)                                         person and presence of bank employees approximately
                                                      $23,900.00 in money belonging to, and in the care,
                                                      custody, control, management, and possession of Fifth
                                                      Third Bank, 1 South Wacker Drive, Chicago, Illinois,
                                                      the deposits of which were then insured by the Federal
                                                      Deposit Insurance Corporation

    This criminal complaint is based upon these facts:
    _x_ Continued on the attached sheet.


                                                           Task Force Officer,             eral   Bureau      of
                                                         · Investigation (FBI)

Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic means. The above­
named agent provided a sworn statement attesting to the truth of the Compl8ft and Affidavit by telephone.

 Date: March 28, 2023
                                                                �..Judge's
                                                                   :._,,   sign\J�re
 City and state: Chicago, Illinois                     MARIA VALDEZ, U.S. Magistrate Judge
                                                                 Printed name and title
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

                                        AFFIDAVIT

       I, GERARD REILLY, being duly sworn, state as follows:

       1.        I am a Task Force Officer with the Federal Bureau ofInvestigation     (FBI)

and have been so employed for 5 years. I have been employed for approximately 21

years by the Chicago Police Department.          My current responsibilities    include the

investigation of violent crimes, including, among others, kidnaping, bank robbery,

and the apprehension of violent fugitives.

       2.        This affidavit is submitted in support of a criminal complaint alleging

thatJAWAD H. HAKEEM has violated Title 18, United States Code, Section 2113(a).

Because this affidavit is being submitted for the limited purpose of establishing

probable cause in support of a criminal complaint charging HAKEEM with bank

robbery, I have not included each and every fact known to me concerning this

investigation.     I have set forth only the facts that I believe are necessary to establish

probable cause to believe that the defendant committed the offense alleged in the

complaint.

       3.        This affidavit is based on my personal knowledge, information provided

to me by other law enforcement agents, information that appears in law enforcement

records, interviews of witnesses, my review of surveillance videos and images, my

training and experience, and the experience of other law enforcement agents.
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I.     FACTS SUPPORTING PROBABLE CAUSE

       A.    SUMMARY OF PROBABLE      CAUSE


       4.    On March 9, 2023, at approximately 2:59 p.m., a man wearing a black

coat, red knit cap, blue jeans, and black and blue ski gloves robbed the Fifth Third

Bank located at 1 South Wacker (the "Bank"). The man, later identified as HAKEEM,

was carrying a loaded gun and engaged in a shoot-out with the Bank's security guard.

The Bank lost approximately $23,900.00 as a result of the robbery.

       5.    Later in the day on March 9, Witness 1 contacted law enforcement to

provide information   about a man that Witness 1 had spoken to in an alleyway

adjacent to the Bank approximately       15 minutes   before the robbery took place.

According to Witness 1, the man in the alleyway was wearing clothing that matched

the clothing worn by the Bank robber. Witness 1 recognized the matching clothing

after seeing media coverage that included a photo of the Bank robber in the Bank.

The man in the alleyway provided Witness 1 with his telephone number, which

Witness 1 shared with law enforcement.

       6.    As described in detail below, investigation   of the telephone number

provided by Witness 1 led law enforcement to identify HAKEEM based on Facebook

posts that he made.   Further   investigation of HAKEEM led law enforcement to a

motel room where they identified a gun and a pair of gloves that closely resemble the

gun and gloves used by the Bank robber.




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      B.    ROBBERY OF FIFTH THIRD BANK ON MARCH 9, 2023

      7.    According to Bank        surveillance   footage from March   9, 2023, at

approximately     2:59 p.m., a man, later identified as HAKE EM, entered the north

lobby Bank entrance located on the corner of Wacker Drive and Madison Avenue.

HAKEEM can be seen pointing a small, black gun at two Bank employees who are in

the Bank's lobby.

      8.    According to Employee 1, a Bank teller who was in the lobby at the time

HAKEEM entered, HAKEEM yelled words to the effect of, "I'm robbing you! Get

down! There is a bullet in the chamber [of the gun]!" According to Bank surveillance

footage and Employee 1, HAKEEM then threw             a plastic bag on Employee 1's

workstation and on the workstation     of Employee 2, who was also in the lobby when

HAKE EM entered.       A still image of HAKEEM from Bank surveillance      footage is

included below.




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      9.     According to Employees 1 and 2, they were both wearing nameplates on

their person at the time of the robbery, and HAKEEM referred to each of them by

name and made statements to hurry them along. Both Employees 1 and 2 also heard

HAKEEM threaten that he would kill them, say that he wanted $100,000, and say

that he wanted that amount in $100 bills.

      10.    According to Employee 3, Employee 3 was in the Bank's breakroom with

the door closed at the time HAKEEM entered the Bank. Employee 3 was able to see

what was happening in the Bank lobby through live feed surveillance video in the

breakroom.    Employee 3 observed HAKEEM walking around in the lobby carrying

the gun. According to Employee 3, she then called 911 and pressed a panic button in

the breakroom.

      11.    According to Bank surveillance footage and the accounts of Employees

1-3, while Employees 1 and 2 began filling up the plastic bags HAKEEM had provided

them with money, a Bank security guard (Employee 4), was standing outside the

Bank with his back to the windows.    Employee 4 can be seen on video turning and

observing    HAKEEM,    who was    still   pointing   the   gun   and   who seemed   to

simultaneously   see Employee 4. According to Bank surveillance footage, HAKEEM

then grabbed the plastic bags containing money from Employees 1 and 2 and started

rushing to the Bank's exit.

      12.     According to Bank surveillance     footage, Employee 4 drew his gun,

which, according to Employee 4, was a revolver containing seven rounds of .38 caliber

ammunition and began to back away. HAKEEM can be seen entering the area near



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the Bank's glass revolving doors, with his gun pointed toward Employee 4. HAKE EM

and Employee 4 began firing at each other while HAKEEM remained near or in the

door turnstile.    1   According to Employee 4, he shot all seven rounds in his revolver and

then changed locations to take cover while he reloaded his firearm.

       13.        According to the bank surveillance footage, HAKEEM appears to lose

his balance during the exchange of gunfire and drop some of the money contained in

the plastic bags. That footage and video footage obtained from other nearby buildings

shows HAKEEM kneeling briefly to gather up and stuff money laying on the ground

back into the plastic bags. At approximately          3:01 p.m., surveillance footage shows

that HAKEEM fled eastbound on Madison Street.

       14.        According to law enforcement       reports,   as a result       of the gunfire

exchanged between HAKEEM and Employee 4, Employee 4 suffered a wound to his

hand and received medical attention.

       15.        According to records maintained       by the FDIC, Fifth Third Bank's

deposits were insured by the FDIC at the time of the robbery.

       C.         IDENTIFICATION     OF JAWAD HAKEEM

        16.       On March       9, 2023, several    hours   after   the   bank    robbery,   law

enforcement received a tip from Witness 1 regarding an interaction she had with an

individual at approximately         2:44 p.m. in an alleyway adjacent to the scene of the

Bank robbery. According to Witness 1, after viewing news coverage of the Bank




1 According to law enforcement    reports, nine 9-millimeter shell casings from a semI-
automatic pistol were recovered near the Bank's revolving doors.



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robbery and seeing an image of the robber, Witness 1 believed that the individual in

the alleyway may have been the Bank robber.

      17.       According to Google Maps, the alleyway where the interaction    took place

is identified as West Arcade Place.        West Arcade Place is located between    1 South

Wacker     (the building   housing   the Bank)     and   71 South   Wacker   (the building

immediately to the south of 1 South Wacker). Law enforcement obtained surveillance

footage showing West Arcade Place on March 9.

      18.       According to Witness     1 and the Arcade Place surveillance   footage, at

approximately     2:40 p.m., Witness 1 entered the area and began smoking a cigarette.2

Moments later, a man wearing         clothing matching    the clothing worn by the Bank

robber approached Witness 1 and began a conversation.          According to Witness 1, the

man first asked for a cigarette and then began telling Witness 1 that he was a "sugar

daddy" and running for president       in 2024. According to Witness 1 and the Arcade

Place surveillance    footage, Witness     1 and the man spoke for approximately       two

minutes.

         19.    During the conversation,     Witness   1 could not see the man's face, but

Witness    1 observed that the man was wearing a blue surgical face mask, a black




2 According to a search of law enforcement databases, Witness 1 does not have any reported

criminal history. Additionally, Witness 1 has received no benefits or promises in exchange
for Witness l's cooperation with law enforcement. As detailed below, Witness l's statements
are corroborated by substantial independent evidence, including video surveillance footage,
social media posts, and evidence found in a motel room reserved by HAKEEM.



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jacket with the hood up, a red cap under the hood, blue winter gloves, and jeans.            A

still image of the man on Arcade Place is below. 3




       20.    According to Witness 1, the man then gave Witness 1 his phone number,

which he said was (312) 200-1619. According to Witness 1, the man then told Witness

1 that there was a trick to memorizing the number (i.e., a mnemonic device). Namely,

the man told Witness 1 that "312" symbolized Chicago, that "200" was a number

assigned to him by T-Mobile because he was "special," and that "1619" was notable

because it was the first year that slavery began in the United States. Witness 1 then

walked away.


3 Witness  1 is visible in the Arcade Place footage but has been cropped out of the image above
to protect their identity.



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      21.    According to Witness    1, later that   evenmg, Witness    1 saw media

coverage of the Bank robbery and observed the below image released by the FBI

showing a still photo of the Bank robber.




      22.    According to Witness 1, based on the clothing worn by the Bank robber-

including the black jacket, red cap, and blue winter gloves-Witness   1 came to believe

that slhe had spoken to the robber around the time of the robbery.     Witness 1 also

recalled the phone number that the man in the alleyway had provided because of the

mnemonic device the man had shared.         Witness 1 then called a law enforcement

tip line on the evening of March 9 and provided information about the encounter in

the alleyway and the phone number, (312) 200-1619 ("Subject      Phone 1").




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       23.     Based on a search of law enforcement databases         on March 10, 2023,

Subject Phone 1 is serviced by provider Metro         pes (a subsidiary    of T-Mobile) and

associated with JAWAD HAKEEM.4

       24.     On March 10, 2023, at approximately 6:48 p.m., I sent a text message

from a law enforcement cell phone ("LE Phone") to Subject Phone 1 purporting to

garner engagement with a local political campaign. I did not receive a response from

Subject      Phone   1. However, at approximately      7:36 p.m., the LE Phone received

multiple text messages from phone number (224) 772-9025 ("Subject Phone                  2")

soliciting registration for a "Universal Income Program" and other purported political

actions and events.5

       25.      Based on a search       of law enforcement    databases,    which includes

information from Facebook, Subject         Phone 2 is associated with a Facebook page

with the username "Prince Hakeem." Publicly available information on the Facebook

page included the following post, which lists HAKEEM's full name, date of birth, and

the numbers for both Subject Phone 1 and Subject Phone 2.6




4 According to subscriber information   provided by T-Mobile, Subject Phone 1 is associated
with JAW AD HAKEEM.
5 According to subscriber information provided by T-Mobile, Subject Phone 2 is associated
with JAW AD HASHEM. According to law enforcement records and other sources noted in
this affidavit, HASHEM is HAKEEM's middle name.
6Portions of this image have been redacted because they include HAKEEM's Social Security
number and other personal information.



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                   FirstNet '?          6:36PM           ~ 75~-

               ~        Prince Hakeem                            Q

                         Prince Hakeem                           ...
               Jawad HaShem Hakeem will be the next
               President  of the United States of Amerfca
               #11_5_2024
               224.772.9025/312.200.1619
               jawadha shernha keern@grnail.eorn
               4_HICKORY          HilLS DRIVE
               APT1.
               WAUKEGAN IL 60087
               SS #
               Dob:_975
               Shoe         size (10)

      26.    Further review of the Prince Hakeem Facebook page also revealed posts

where the user posted images showing HAKEEM's Illinois identification card and

Social Security card.    A search of law enforcement databases   confirmed that the

information posted in those images is related to HAKEEM.

      27.   A publicly visible post on the Prince Hashem Facebook page dated

March 11, 2023 says "I've been a Sugar_Daddy since 2005[.]" Another publicly visible

post from the same date says "Jawad HaShem Hakeem will be the next President of

the United States of America[.]" These statements    are consistent with statements

that HAKEEM made to Witness 1 on March 9, 2023.

      28.    On March 11, 2023, I reviewed a Chicago Police Department      ("CPD")

Report related to a March 2, 2023 theft incident involving HAKE EM. The report's




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narrative     section identified       the offender by the following information,     which   IS



consistent with the Prince Hakeem Facebook page:

                 a.        Narne: Prince Hakeem

                 b.        Phone: 224-772-9025 (i.e., Subject Phone 2)

                 c.        Email: jawadhashemhakeem@gmail.com

                 d.        Address: 4XXX Hickory Hills Dr Apt XXX Waukegan, IL 60037

       29.       On March 13, 2023, I reviewed a Waukegan Police Department            ("WPD")

Report related to a February            13, 2023 arrest of HAKE EM. The report identified

HAKEEM as being associated with the same address noted above in paragraphs                    25

and 28. The report also included a booking photo of HAKEEM that is consistent with

photos posted on the Prince Hakeem Facebook page.

        30.      Based on my review of the Bank surveillance footage, the Arcade Place

surveillance          footage,   and   other   images   of HAKEEM     obtained      during    the

investigation,        HAKE EM's height, weight, and skin tone are consistent with that of

the individual who robbed the Bank.

        D.       SEARCH OF MOTEL ROOM RENTED BY HAKEEM ON MARCH 13, 2023

        31.       On March 14, 2023, I learned that HAKEEM was arrested by the WPD

 on an active warrant and theft charges on March 13, 2023. According to the WPD

 records, HAKEEM provided information during the booking process that indicated

 he had rented Room 254 at the Best Motel, located at 6525 S. King Drive in Chicago

 over the weekend of March 11-12, 2023. HAKEEM told WPD that he had probably

 since been kicked out of the room.




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          32.     On March 15, 2023, FBI agents went to the Best Motel and obtained a

registration     card and video surveillance footage showing that HAKEEM had rented

Room 254 on March 12.7

          33.     According to Best Motel staff, on March 13, 2023, Hakeem failed to

check out of his motel room by the end of his rental period. Accordingly, motel staff

entered the room and found that HAKEEM was not present, but that he had left

clothing, a gun, and other belongings behind. Motel staff removed the property from

the room and stored it as abandoned property, except for the gun. According to motel

staff and CPD reports, the black, 9-millimeter gun found in HAKEEM's motel room

was turned over to the CPD on March 13, 2023, which I confirmed with the CPD.8

The caliber of the recovered gun is consistent with the 9-millimeter shell casings left

by HAKEEM during the shoot-out with Employee 4 during the March 9 robbery.

Based on my training and experience, my review of the Bank surveillance footage,

and the description of the gun included in the CPD report, the description of the gun

recovered from HAKEEM's motel room is consistent with the gun HAKEEM can be

seen holding in the Bank surveillance footage during the robbery.

          34.     Additionally,   motel   staff provided   FBI   agents   with   the   clothing

recovered from HAKEEM's room. That clothing included a pair of black and blue

striped ski gloves consistent with gloves worn by HAKEEM during the March 9




7   The registration   card includes HAKE EM's name and street address on Hickory Hills Drive.
S According to the CPD report, the gun was reported stolen from a vehicle in Naperville on
March 2, 2023.



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robbery (see paragraph 21). An image of the gloves recovered from the Best Motel is

below.




II.      CONCLUSION

         35.   Based on the above information,     I respectfully   submit that there is

probable cause to issue a criminal complaint alleging that JAWAD HAKEEM did, by

force, violence and intimidation,   take from the person or presence of another money,

namely $23,900.00 in United States Currency, belonging to and in the care, custody,

control, management,     and possession of Fifth Third Bank, a bank whose deposits

were then insured by the Federal Deposit Insurance       Corporation, in violation Title

18, United States Code, Section 2113(a).




                                         Task Force      Officer,            Bureau   of
                                         Investigation


SWORN TO AND AFFIRMED by telephone March 28, 2023.




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Honorable MARIA VALDEZ
United States Magistrate Judge




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